                     Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 1 of 15                                                                              FILED
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                                                                                                                                             Court) COURT              1
                                                                                                                                           N.D. OF ALABAMA
                                                                                                                                                      :.
(Rev, 2/88)
                                                                                                                             4: 15-CR-00500-L Y(2)
                            TRANSFER OF                  JURISp~TION                                                     DOCKET NUMBER (Rec, Court)
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NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELldfr-;                              DISTRICT                               DIVISION
                                                                     Ill'
                                                                    ..' I
                                                                                  , W~sten: I!:jS;rict of Texas                  Pecos Division
                                                           U.S.O:;                NAME OF SEN'fENCING JUD~
Rogelio Juan Santiago-Tomas                                NO. . 0"..
Gadsen, Alabama                                                                              RPnorable Lee              , U.S. District Judge
                                                                                  DATES OF PROI3ATION!      FROM                           TO
                                                                                  SUPERVISED RELEASE

                                                                                                                  08126/21jti    I II           p.!25fLtl9
OFFENSE
8 U.S.c. § 1324 (a)(l)(A)(ii) and 18 U.S.C. §2 : Transport of IllegaJ Aliens for Fianacian Gain; Aiding and Abetting
                                                                                                                                                       -
                                                                                                                                MAR 2 22017
                                                                                                                     CLERK. U'S"r1i             TRI~COUR1
                                                                                                                    ~ESTE~N 01                  ~ICJ1        TEXA          !)


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PART 1 - ORDER TRANSFERRING JURISDICTION


UNITED STATES DISTRICT COURT FOR THE                     Western              DISTRICT OF                   Texas



          IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
    or supervised releasee named above be transferred with the records of this Court to the United States
    District Court for the Northern District of Alabama, Gadsen Division        , upon that Court's order
    of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
    supervised release may be changed by the District Court to which this transfer is made without further
    inquiry of this court. *


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                                                                                                                                  .JL,
                                                                                                                                       l
                                       Date
                                                                                        I,              ,
                                                                                                                                ldge

*This sentence may be delcted in the discretion of the transferring Court
PART 2 - ORDER ACCEPTING .JURISDICTION
                                            --­                                                                     -
UNITED STATES DISTRICT COURT FOR THE                     Northern             DISTRICT OF         Alabama, Gadsen Division



         IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
   releasee be accepted and assumed by this Court from and after the entry of this order.




   M~f! 3 1 '(701,
               Effective Date
                                                     .      ~~d.            ...    n
                                                                                   F-    ~lt
                                                                                         United States District Judge
                                                                                                                          -­
                   Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 2 of 15
                        Case 4:1S-cr-00SOO-L Y Document SO Filed 02/19/16 Page 1 of 7

                                       UNITED STATES DISTRICT COURT 

                                                  WESTERN DISTRICT OF TEXAS
                                                            PECOS DIVISION              /fl/lJ /1+ L                           /
                                                                                           ;p: (7 (!f.(~d-/Pb - HIIJL
                                                                                                   4


 UNITED STATES OF AMERICA
                                                                              Case Number: 4:15-CR-00500-L Y(2)
 v.                                                                           USM Number: 60696-380

 ROGELIO JUAN SANTIAGO-TOMAS
 True Name: Rogelio Juan Santiago-Tomas
 Aliases: Rogelio Juan Tomas-Santiago, Rogelio
 Santiago-Tomas, Rogelio Tomas-Santiago

          Defendant.

                                             JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1,1987)

          The defendant, ROGELIO JUAN SANTIAGO-TOMAS, was represented by Elaine L. Mustard.

          Upon motion of the United States, the Court has dismissed the remaining Count(s) herein as to this defendant.

          The defendant pled guilty to Count(s) 1 of the Indictment on November 18, 2015. Accordingly, the defendant is adjudged
 guilty of such Count(s), involving the following offense(s):

       Title & Section                          Nature of Offense                        Offense Ended

8 USC 1324(a)( 1)(A)(ii) AND        TRANSPORT OF ILLEGAL ALIENS                             10/2812015
18 USC 2                            FOR FINANCIAL GAIN; AIDING AND
                                    ABETTING

          As pronounced on FEBRU AR Y 16, 2016, the defendant is sentenced as provided in pages 2 through 7 of this Judgment. The
 sentence is imposed pursuant to the Sentencing Reform Act of 1984.

          It is further ordered that the defendant shall notifY the United States Attorney for this district within 30 days of any change of
 name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
 If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
 circumstances.

          Signed this   ~-dllt~---                 day of February, 201.6.
                  Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 3 of 15
                     Case 4:15-cr-00500-L Y Document 50 Filed 02/19/16 Page 2 of 7
AO 245B (Rev. TXN 10/12) Judgment in a Criminal Case                                                           Judgment - Page 2 of 7

DEFENDANT:                ROGELIO JUAN SANTIAGO-TOMAS
CASE NUMBER:              4: 15-CR-00500-LY(2)

                                                       IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
TEN (10) MONTHS.

        The Court makes the following recommendation(s) to the Bureau of Prisons: designate defendant
to a federal facility close to Talladega, Alabama near family members during the period of confinement.
If, for any reason, the Bureau of Prisons does not comply with any recommendation of this Court made
in this Judgment and Sentence, the Bureau of Prisons shall immediately notify the Court and any reason
therefor.
        The defendant shall remain in custody pending service of sentence.




                                                          RETURN
I have executed this judgment as follows:




                                                                to __________________________________________
        Defendant delivered on

at . . . ~_~..______ . ______, with a certified copy ofthis judgment.



                                                                                       UNITED STATES MARSHAL




                                                                                                  By 

                                                                                  DEPUTY UNITED STATES MARSHAL 

                  Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 4 of 15
                     Case 4:1S-cr-00SOO-LY Document 50 Filed 02/19/16 Page 3 of 7
AO 245B (Rev. TXN 10/12) Judgment in a Criminal Case                                                             Judgment -. Page 3 of7

DEFENDANT:                ROGELIO JUAN SANTIAGO-TOMAS
CASE NUMBER:              4: lS-CR-OOSOO-LY(2)



                                                  SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release a term of THREE (3) VEARS.

         While on supervised release the defendant shall comply with the mandatory, standard and if applicable, the special conditions
that have been adopted by this Court, and shall comply with the following additional conditions:


The defendant shall refrain from the use of alcohol and all other intoxicants during the term of
supervision.

The defendant shall not be permitted to reside any place where firearms are possessed or stored.

The defendant shall submit his or her person, property, house, residence, office, vehicle, papers,
computers as defined in 18 U.S.c. Section 1030(e)(1), and other electronic communications or data
storage devices or media, to a search conducted by a United States probation officer. Failure to submit to
a search may be grounds for revocation of release. The defendant shall warn any occupant that the
premises that the premises may be subject to searches pursuant to this condition. Any search must be
conducted at a reasonable time and in a reasonable manner. The United States probation officer may
conduct a search when a reasonable suspicion exists that the defendant may have violated a condition of
supervision or if there is a violation of law.

The defendant shall submit from any unlawful use of a controlled substance. The defendant shall submit
to one drug test within 15 days of release on probation or supervised release and at least two periodic
drug tests thereafter (as determined by the Court) for use of a controlled substance, but the condition
stated in this paragraph may be ameliorated or suspended by the Court if the defendant's presentence
report or other reliable sentencing information indicates low risk of future substance abuse by the
defendant.

The defendant shall not travel to the PecoslDel RiolEl Paso Divisions ofthe Western District of Texas or
the McAllenlLaredolBrownsvilie Divisions of the Southern District of Texas, without the permission of
the probation officer.

The defendant shall perform 200 hours of community service work without pay, at a location approved
by the probation officer, at a minimum rate of four hours per week, to be completed during the period of
supervision.

The defendant shall participate in workforce development programs and services as directed by the
probation officer, and if deemed necessary by the probation officer, which include occupationaVcareer
development, including but not limited to assessment and testing, education, instruction, training classes,
career guidance, job search and retention services until successfully discharged from the program~ The
defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to
be determined by the probation officer, based upon the defendant's ability to pay.
                 Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 5 of 15
                     Case 4:15-cr-00500-L Y Document 50 Filed 02/19/16 Page 4 of 7
AO 245B (Rev. TXN 10/12) Judgment in a Criminal Case                                     Judgment - Page 4 of 7


DEFENDANT:                ROGELIO JUAN SANTIAGO-TOMAS
CASE NUMBER:              4: lS-CR-OOSOO-LY(2)



The defendant shall provide the probation officer access to any requested financial information.

The defendant shall not incur any new credit charges or open additional lines of credit without the
approval of the probation officer, unless the defendant is in compliance with the payment schedule.




                                                                                                                  '\
                   Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 6 of 15

                      Case 4: 15-cr-00500-LY Document 50 Filed 02/19/16 Page 5 of 7
AO 245B (Rev. TXN 10112) Judgment in a Criminal Case 	                                                                  Judgment •• Page 5 of7


DEFENDANT:                  ROGELIO JUAN SANTIAGO-TOMAS
CASE NUMBER:                4: lS-CR-OOSOO-LY(2)

                                               CONDITIONS OF SUPERVISION
Mandatory Conditions: 


1)   The defendant shall not commit another federal, state, or local crime during the term of supervision. 


2)   The defendant shall not unlawfully possess a controlled substance. 


3)   The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 

     days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court) for
     use of a controlled substance, but the condition stated in this paragraph may be ameliorated or suspended by the court if the
     defendant's presentence report or other reliable sentencing information indicates low risk of future substance abuse by the
     defendant.

4)   In supervised release cases only, the defendant must report to the probation office in the district to whiCh the defendant is
     released within 72 hours of release from custody of the Bureau of Prisons.

5)   If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
     weapon.

6)   The defendant shall cooperate in the collection of DNA as directed by the probation officer, if the collection of such a sample is
     authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

7)   If convicted of a sexual offense and required to register under the Sex Offender and Registration Act, that the defendant comply
     with the requirements of the Act.

8)   If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561 (b), the defendant shall partiCipate in an approved
     program for domestic violence.

9)   If the judgment imposes a fine or restitution. it is a condition of supervision that the defendant pays in accordance with the
     Schedule of Payments sheet of the.judgment.

Standard Conditions:

1)   The defendant shall not leave the judicial district without permiSSion of the court or probation officer.

2)   The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)   The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

4) 	 The defendant shall support his or her dependents and meet other family obligations, and shall comply with the terms of any court
     order or order of an administrative process requiring payments by the defendant for the support and maintenance of a Child or of a
     child and the parent with whom the Child is living.

5)   The defendant shall work regularly at a lawful occupation. unless excused by the probation officer for sChooling. training, or other
     acceptable reasons.

6)   The defendant shall notify the probation offICer at least ten days prior to any change in residence or employment.

7)   The defendant shall refrain from excessive use of alcohol and shall not purChase, possess, use, distribute. or administer any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8)   The defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered.

9)   The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
     of a felony, unless granted permission to do so by the probation officer.

10) The defendant shall permit a probation officer to viSit him or her at any time, at home or elsewhere, and shall permit confiscation of
    any contraband observed in plain view of the probation officer.

11) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer.
12) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court.
                    Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 7 of 15
                      Case 4:1S-cr-00SOO-LY Document 50 Filed 02/19/16 Page 6 of 7
AO 245B (Rev. TXN 10/12) Judgment in a Criminal Case 	                                                                 Judgment •• Page 6 of?

DEFENDANT:                  ROGELIO JUAN SANTIAGO-TOMAS
CASE NUMBER:                4: 15-CR-00500-LY(2)


13) 	 As directed by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics. and shall permit the probation officer to make such notifications. and to
      confirm the defendant·s compliance with such notification requirement.

14) 	 If convicted of a sex offense as described in the Sex Offender Registration and Notification Act or has a prior conviction of a State
      or local offense that would have been an offense as described in the Sex Offender Registration and Notification Act if a
      circumstance giving rise to federal jurisdiction had existed, the defendant shall participate in a sex offender treatment program
      approved by the probation officer. The defendant shall abide by all program rules, requirements and conditions of the sex
      offender treatment program. including submission to polygraph testing. to determine if the defendant is in compliance with the
      conditions of release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount
      to be determined by the probation officer, based on the defendant's ability to pay.

15) 	 The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation officer,
      and if deemed necessary by the probation officer. the defendant shall participate in a program approved by the probation officer
      for treatment of narcotic addiction or drug or alcohol dependency which may inctude testing and examination to determine if the
      defendant has reverted to the use of drugs or alcohol. During treatment, the defendant shall abstain from the use of alcohol and
      any and all intoxicants. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
      amount to be determined by the probation officer, based upon the defendant's ability to pay.

16) 	 The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if deemed
      necessary by the probation officer, the defendant shall participate in a mental health program approved by the probation officer.
      The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be determined by
      the probation Officer, based upon the defendant's ability to pay.

17) 	 The defendant shall partiCipate in a cognitive behavioral treatment program as directed by the probation officer, and if deemed
      necessary by the probation officer. Such program may include group sessions led by a counselor or participation in a program
      administered by the probation office. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

18) 	 The defendant shall partiCipate in workforce development programs and services as directed by the probation officer, and if
      deemed necessary by the probation officer, which include occupational/career development. including but not limited to
      assessment and testing. education. instruction, training classes, career guidance, job search and retention services until
      successfully discharged from the program. The defendant may be required to contribute to the cost of the services rendered
      (copayment) in an amount to be determined by the probation officer, based upon the defendant's ability to pay.

19) 	 If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision shall
      be a non·reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
      defendant lawfully reenters the United States during the term of probation or supervised release, the defendant shall immediately
      report in person to the nearest U.S. Probation Office.

20) 	 If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pays such penalties
      in accordance with the Schedule of Payments sheet of the judgment.

21) 	 If the judgment imposes a fine, special assessment. restitution. or other criminal monetary penalties, it is a condition of supervision
      that the defendant shall provide the probation officer access to any requested financial information.

22) 	 If the judgment imposes a fine. special assessment. restitution. or other criminal monetary penalties, it is a condition of supervision
      that the defendant shall not incur any new credit charges or open additional lines of credit without the approval of the probation
      officer. unless the defendant is in compliance with the payment schedule.
                                 Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 8 of 15
                                    Case 4:1S-cr-00SOO-L Y Document SO Filed 02/19/16 Page 7 of 7
     AO 2458 (Rev. TXN 10/12) Judgment in a Criminal Case                                                                                                          Judgment - Page 7 of 7

     DEFENDANT:                            ROGELIO JUAN SANTIAGO-TOMAS
     CASE NlIMBER:                         4: lS-CR-OOSOO-LY(2)

                                                   CRIMINAL MONETARY PENALTIES/SCHEDULE
              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
     forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
     penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau of Prisons'
     Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 655 E. Cesar E. Chavez Blvd,
     Room G65, San Antonio, TX 78206. The defendant shall receive credit for all payments previously made toward any criminal
     monetary penalties imposed.




                                                                                SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of $1 00.00. Payment of this sum shall
     begin immediately.



                  The fine is waived due to the defendant's inability to pay.




            If the defendant makes a partial payment, each payee shall receive an approXimately proportioned payment. unless specified otherwise In the priority order or
pe~entage payment column above. However, pursuant to 18 U.SC. § 3664(1), all non-federal victims must be paid before the United States is paid.

            If the flne is not paid. the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $.2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 1B U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment. (2) restitution principal. (3) restitution interest. (4) fine principal. (5) community restitutiOn. (6) line
interest. (7) penalties, and (8) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 109A, 110. 110A, and 113A of TiDe 1B for offenses committed on or after September 13, 1994,
but before April 23, 1996.
     Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 9 of 15
          Case 4:15-cr-00500-L Y Document 17 Filed 11/12/15 Page 1 of 2      FILED
                                                                          NOV 1 2 2015
                       UNITED STATES DISTRICT COURT 

                        WESTERN DISTRICT OF TEXAS 

                              PECOS DIVISION 


UNITED STATES OF AMERICA,                   NO.   P-15-CR-

                   Plaintiff,                I N D I C T MEN T
                                             - --------
                                            [Vio: 8 USC 1324 (a) (1)
                                                                 (A) (ii) ,
V.                                          Transport of illegal aliens]

q~~~p_THOMAS FRANCISCO,
ROGELIO JUAN SANTIAGO-TOMAST

                   Defendants.

     The Grand Jury Charges:

                                    Count One
                [8 U.S.C.   §   1324(a) (1) CA) (ii)   &:   (v)   (II)]

     On or about October 28, 2015, in the Western District of

Texas, Defendants,

                         DAVID THOMAS FRANCISCO,
                       ROGELIO JUAN SANTIAGO-TOMAS,

in reckless disregard of the fact that an alien, Mario Ramirez

Perez, had come to, entered, or remained in the United States in

violation of law, did transport or move, or attempt to transport

or move said alien, by means of transportation or otherwise, in

furtherance of such violation of law.

     2.    The Defendant and others did aid and abet one another

in said violation of law.

     3.    The offense was committed for the purpose of commercial

advantage and private financial gain.

     A violation of Title 8, United States Code, Section

1324{a) (1) CA) (ii) and Title 18, United States Code, Section 2.
     Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 10 of 15

          Case 4:15-cr-00500-L Y Document 17 Filed 11112/15 Page 2 of 2

                                      Count Two
                [8 U. s. C.   §   1324 {a} (1) (A) (ii)   &:   (v)   (II)]

     On or about October 28, 2015, in the Western District of

Texas, Defendants,

                         DAVID THOMAS FRANCISCO,
                       ROGELIO JUAN SANTIAGO-TOMAS,

in reckless disregard of the fact that an alien, Gerardo Alfonso

Tiul-Choc, had come to, entered, or remained in the United

States in violation of law, did transport or move, or attempt to

transport or move said alien, by means of transportation or

otherwise, in furtherance of such violation of law.

     2.    The Defendant and others did aid and abet one another

in said violation of law.

     3.    The offense was committed for the purpose of commercial

advantage and private financial gain.

     A violation of Title 8, United States Code, Section

1324(a) 	( 1) (A) (ii) and Title 18, United States Code, Section 2.

                                    A True Bill.




                                    Foreperson

Richard L. Durbin, Jr.
United States Attorney



Sandy Stewart
Assistant United States Attorney
             Case 2:17-cr-00266-AKK
Centralized CM/ECF                       Document 1 Filed 06/19/17 Page 11 of 15 Page lof5
                    LIVE - U.S. District Court:txwd


                                                                               CLOSED,INTERPRETER

                                   u.s. District Court [LIVE] 

                         Western District of Texas (Pecos) 

                 CRIMINAL DOCKET FOR CASE #: 4:1S-cr-OOSOO-LY-2 



 Case title: USA v. FRANCISCO et al                         Date Filed: 1111212015 

 Magistrate judge case number: 4:15-mj-01254-BDG
                                                           --- _---­
                                                            Date Terminated: 02119/2016 

                                                                          ..




 Assigned to: Judge Lee Yeakel
                                                          /J7J/4L
                                                          )J: 17- t~·4~ ~f}KIL
 Defendant (2)
 ROGELIO JUAN SANTIAGO­                      represented by Elaine L. Mustard
                                                                                      -
 TOMAS                                                      Law Office of Elaine L. Mustard
 TERMINATED: 0211912016                                     P.O. Box 338
                                                            Marfa, TX 79843
                                                            512-658-4045;432-729-1825
                                                            Fax: (432) 729-1963
                                                            Email: lovemustard2001@yahoo.com
                                                            TERMINATED: 0211912016
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation. (,'.fA Appointment

 Pending Counts                                             Disposition
 BRINGING IN AND HARBORING                                  Defendant sentenced to 10 months
 ALIENS                                                     BOP, 36 months supervised release and
 (1)                                                        $100 special assessment.

 Highest Offense Level (Opening)
 Felony

Terminated Counts                                           Disposition
BRINGING IN AND HARBORING
ALIENS                                                      Count 2 dismissed by the Govt.
(2)

Highest Offense Level (Terminated)
Felony

Complaints                                                  Disposition
8: 1324.F



https://ecf.txwd.uscourts.gov/cgi-binlDktRpt.pl?2221065176990 l-L 1 0-1                     611912017
             Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 12 of 15
Centralized CMIECF LIVE - U.S. District Court:txwd                          Page 2 of5




 Plaintiff
 USA                                            represented by Sandy Stewart
                                                               United States Attorney
                                                               Alpine Division
                                                               2500 North Hwy. 118
                                                               Suite A200
                                                               Alpine, TX 79830
                                                               432-837-7332
                                                               Fax: 432-837-7485
                                                               Email: sandy .stewart@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


 Date Filed       #     Docket Text
 10/2812015             Arrest of DAVID THOMAS FRANCISCO, ROGELIO JUAN SANTIAGO­
                        TOMAS (dm2) [4: 15-mj-01254-BDG] (Entered: 1110212015)
 11/02/2015       1     COMPLAINT Signed by Judge B. Dwight Goains as to DAVID THOMAS
                        FRANCISCO, ROGELIO JUAN SANTIAGO-TOMAS. (yt) [4:15-mj-01254­
                        BDG] (Entered: 1110312015)
 11102/2015       4 AFFIDA VIT for Material Witness Gerardo Alfonso Tiul-Choc in case as to
                    DAVID THOMAS FRANCISCO, ROGELIO JUAN SANTIAGO-TOMAS.
                    Signed by Judge B. Dwight Goains. (yl) [4: 15-mj-01254-BDG] (Entered:
                    1110312015)
 11/02/2015       5 AFFIDAVIT for Material Witness Mario Ramirez-Perez in case as to DAVID
                    THOMAS FRANCISCO, ROGELIO JUAN SANTIAGO-TOMAS. Signed by
                    Judge B. Dwight Goains. (yl) [4: 15-mj-01254-BDG] (Entered: 11103/2015)
 11102/2015       ~     Minute Entry for proceedings held before Judge B. Dwight Goains:Initial
                        Appearance for Material Witness Gerardo Alfonso Tiu1-Choc, Mario Ramirez-
                        Perez in case as to DAVID THOMAS FRANCISCO, ROGELIO JUAN
                        SANTIAGO-TOMAS held on 11/2/2015 SPANISH Language Interpreter
                        required, (Minute entry documents are not available electronically.) (Court
                        Reporter FTR.)(yl) [4:15-mj-01254-BDG] (Entered: 11/0312015)
 1110212015             ORDER as to DAVID THOMAS FRANCISCO, ROGELIO JUAN
                        SANTIAGO-TOMAS, (Preliminary and Detention Hearing set for 111412015
                        09:30 AM before Judge B. Dwight Goains). Signed by Judge B. Dwight Goains.
                        (yt) [4: 15-mj-01254-BDG] (Entered: 1110312015)
 11/0212015        "'
                  :2    MOTION to Detain Defendant without Bond by USA as to ROGELIO JUAN
                        SANTIAGO-TOMAS. (yl) [4: 15-mj-01254-BDG] (Entered: 11/03/2015)
 11/0212015       7 Minute Entry for proceedings held before Judge B. Dwight Goains:lnitial
                    Appearance as to ROGELIO JUAN SANTIAGO-TOMAS held on 1112/2015
                    (Minute entry documents are not available electronically.), SPANISH Language



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             Case 2:17-cr-00266-AKK
Centralized CMlECF                     Document 1 Filed 06/19/17 Page 13 of 15 Page 3 of5
                   LIVE U.S. District Court:txwd


                       Interpreter required as to ROGELIO JUAN SANTIAGO-TOMAS (Court
                       Reporter FTR.) (yl) [4:15-mj-01254-BDG] (Entered: 11103/2015)
 1110212015      -10   ORDER APPOINTING COUNSEL as to ROGELIO JUAN SANTIAGO­
                       TOMAS Elaine L. Mustard for ROGELIO JUAN SANTIAGO-TOMAS
                       appointed.. Signed by Judge B. Dwight Goains. (yl) [4: 15-mj-01254-BDG]
                       (Entered: 1110312015)
 1110412015      12    WAIVER of Preliminary Hearing and Detention Hearing by ROGELIO JUAN
                       SANTIAGO-TOMAS (mbl) [4:15-mj-01254-BDG] (Entered: 1110412015)
 1110412015            ORDER GRANTING J Motion to Detain Defendant without Bond. Bond set to
                       no bond as to ROGELIO JUAN SANTIAGO-TOMAS (2). Signed by Judge B.
                       Dwight Goains. (mbl) [4: 15-mj-01254-BDG] (Entered: 1110412015)
 1110412015      -14   ORDER OF DETENTION: Bond set to no bond as to ROGELIO JUAN
                       SANTIAGO-TOMAS. Signed by Judge B. Dwight Goains. (mbl) [4: 15-mj­
                       01254-BDG] (Entered: 1110412015)
 11112/2015            INDICTMENT(Redacted Version) filed. Unredacted document sealed pursuant
                       to E-Governrnent Act of 2002 as to DAVID THOMAS FRANCISCO (1) count
                       (s) 1-2, ROGELIO JUAN SANTIAGO-TOMAS (2) count(s) 1-2. (cv) (Entered:
                       1111612015)

111112/2015            Personal Data Sheet (SEALED) as to ROGELIO JUAN SANTIAGO-TOMAS
                       (cv) (Entered: 11116/2015)
 11117/2015      20    Waiver of personal appearance at Arraignment, plea of not guilty by ROGELIO
                       JUAN SANTIAGO-TOMAS as to DAVID THOMAS FRANCISCO,
                       ROGELIO JUAN SANTIAGO-TOMAS (Mustard, Elaine) (Entered:
                       11117/2015)
 11118/2015      21    Consent to administration of guilty plea and Rule 11 Allocution by a United
                       States Magistrate Judge by USA as to ROGELIO JUAN SANTIAGO-TOMAS
                       (cv) (Entered: 11118/2015)
 1111812015            FACTUAL BASIS by USA as to ROGELIO JUAN SANTIAGO-TOMAS (cv)
                       (Entered: 11118/2015)
 1111812015      24    Minute Entry for proceedings held before Judge David B. Fannin:Rearraignrnent
                       held on 11/1812015 ; Defendant Informed of Rights. Plea of guilty entered as to
                       ROGELIO JUAN SANTIAGO-TOMAS (2) Count 1 ;Referred to Probation for
                       Presentence Report (Minute entry documents are not available electronically.)
                       (Court Reporter FTR.) (cv) (Entered: 11118/2015)
 1111812015      25    ORDER SETTING as to DAVID THOMAS FRANCISCO, ROGELIO JUAN
                       SANTIAGO-TOMAS, (MATERIAL WIlNESS DEPOSITION set for
                       12/7/201503:00 PM before Judge David B. Fannin,). Signed by Judge David B.
                       Fannin. (cv) (Entered: 1111812015)
 11118/2015      27    FINDINGS OF FACT AND RECOMMENDATION on felony guilty plea
                       before the United States Magistrate Judge as to ROGELIO JUAN SANTIAGO­
                       TOMAS. Signed by Judge David B. Fannin. (cv) (Entered: 11/1812015)
 1112412015      36


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              Case 2:17-cr-00266-AKK Document 1 Filed 06/19/17 Page 14 of 15
Centralized CMIECF LIVE - u.s. District Court:txwd                                            Page 4 of5


                      ORDER OF DISMISSAL as to Material Witnesses, Mario Ramirez-Perez and
                      Gerardo Alfonso Tiul-Choc. Signed by Judge David B. Fannin. (cv) (Entered:
                      1112412015)
 12109/2015      37 ORDER as to ROGELIO JUAN SANTIAGO-TOMAS. Guilty plea accepted ..
                    Signed by Judge Robert A. Junell. (cv) (Entered: 12/1012015)
 12/1512015           MOTION to Continue by USA as to ROGELlO JUAN SANTIAGO-TOMAS.
                      (Stewart, Sandy) (Entered: 12/15/2015)
 01/07/2016      40 ORDER as to DAVID THOMAS FRANCISCO, ROGELlO JUAN
                     SANTIAGO-TOMAS reassigning to Judge Lee Yeakel. Judge Robert A. Junell
                     no longer assigned for DAVID THOMAS FRANCISCO, ROGELlO JUAN
                     SANTIAGO-TOMAS. Signed by Judge Robert A. Junell. (mb 1) (Entered:
                    .01108/2016)
 0111112016      41   INITIAL PRESENTENCE REPORT as to ROGELlO JUAN SANTIAGO­
                      TOMAS by Officer Erica N. Carrillo. Objections to the PSR must be submitted
                      directly to the Probation Department. Instructions for viewing the
                      report/worksheet are available      (Document is available only to the attorney
                      of record and AUSA for 10 days) (Attachments: # 1 Certificate of Disclosure)
                      (Palomino, V.) (Entered: 0111112016)
 0111912016      43   ORDER Setting Sentencing as to DAVID THOMAS FRANCISCO, ROGELlO
                      JUAN SANTIAGO-TOMAS Sentencing set for 2/16/201609:00 AM before
                      Judge Lee Yeakel,. Signed by Judge Lee Yeakel. (cv) (Entered: 01119/2016)
 0112912016      46   ADDENDUM AND REVISED PRESENTENCE REPORT as to ROGELlO
                      JUAN SANTIAGO-TOMAS by Officer Erica N. Carrillo. Instructions for
                      viewing the report/worksheet are available     (Document is available only to
                      the attorney of record and AUSA for 10 days) (Attachments: # 1 Revised PSI)
                      (Palomino, V.) (Entered: 01129/2016)
 01129/2016      47   SEALED PRESENTENCE INVESTIGATION REPORT Filed as to ROGELlO
                      JUAN SANTIAGO-TOMAS by Officer Erica N. Carrillo. (Document available
                      to court only) (Attachments: (1-2)(Palomino, V.) (Entered: 01129/2016)
 02/16/2016      48   Minute Entry for proceedings held before Judge Lee Yeakel:Sentencing held on
                      2/1612016 for ROGELIO JUAN SANTIAGO-TOMAS (2), Count(s) 1,
                      Defendant sentenced to 10 months BOP, 36 months supervised release and $100
                      special assessment.; Count(s) 2, Count 2 dismissed by the Govt. (Minute entry
                      documents are not available electronically.) (Court Reporter Arlinda Rodriguez.)
                      (cv) (Entered: 02/17/2016)
 0211912016      50 JUDGMENT AND COMMITMENT as to ROGELlO JUAN SANTIAGO­
                    TOMAS. Signed by Judge Lee Yeakel. (cv) (Entered: 02/22/2016)
 0211912016           Sealed Statement of Reasons as to ROGELlO JUAN SANTIAGO-TOMAS
                      (SOR documents are not available electronically.) (cv) (Entered: 02/2212016)
 03/2212017      56   ProbationiSupervised Release Jurisdiction Transferred to Northern District of
                      Alabama, Gadsen Division as to ROGELIO JUAN SANTIAGO-TOMAS
                      Transmitted Transfer of Jurisdiction form, with certified copies of indictment,
                      judgment and docket sheet. (cv) (Entered: 03/23/2017)



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             Case 2:17-cr-00266-AKK
Centralized CMlECF                       Document 1 Filed 06/19/17 Page 15 of 15 Page 5 of5
                    LIVE - U.S. District Court:txwd




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